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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
______________________________________________
                                              )
UNITED STATES OF AMERICA                      )
                                              )
                    Plaintiff,                )
v.                                            ) Civil Action No. 04-798 (PLF/GMH)
                                              )
ALL ASSETS HELD AT BANK JULIUS BAER & )         FILED UNDER SEAL
CO., LTD., GUERNSEY BRANCH, ACCOUNT           )
NUMBER 121128, IN THE NAME OF PAVLO           )
LAZARENKO, ET AL.                             )
                                              )
                    Defendants In Rem.        )
______________________________________________)

                                                  ORDER

        In a classified letter filed, ex parte, with the Court on October 31, 2019, the government informed

the Court that it had discovered additional classified documents that were referenced in the briefing and

perhaps submitted to the U.S. District Court for the Northern District of California in the criminal case in

that court. Those documents were not submitted for this Court’s ex parte, in camera review in May 2017

along with the other documents in the so-called CIPA File.

        Accordingly, it is hereby

        ORDERED that, in accordance with the procedures proposed in the hearings of March 22, 2017,

and April 7, 2017, and the past practice of this Court in this case, the government shall produce to the Court

the entire universe of the documents identified in the October 31, 2019 letter so that it may conduct an ex

parte, in camera review to determine if they arguably fit into the categories of documents identified by

Pavel Lazarenko based on his review of unclassified portions of the file and reflected in the filing at ECF

No. 937. It is further
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        ORDERED that the government shall produce those documents to the Court, along with an index,

witin seven days of the date of this Order.



        SO ORDERED.
                                                                Digitally signed by G.
                                                                Michael Harvey
                                                                Date: 2019.11.15
Dated: November 15, 2019                      ___________________________________
                                                                13:26:58 -05'00'
                                              G. MICHAEL HARVEY
                                              UNITED STATES MAGISTRATE JUDGE




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